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    James J. Dragna, Esq., SBN: Bar No. 91492                        ID #:8645
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    Los Angeles, CA 90071
    (213) 612-2500




                                  United States District Court Central District of California
                                                      Western Division
                                                                               CASE NUMBER:
                                                                                  2:18-cv-5810-MWF-PLA
    BKK WORKING GROUP, et al.                                   Plaintiff(s)

                                     v.                                                           PROOF OF SERVICE
                                                                                               SUMMONS AND COMPLAINT
    1700 SANTA FE LTD, et al.                                                            (Use separate proof of service for each person/party served)

                                                             Defendant(s)


1. At the time of service I was at least 18 years of age and not a party to this action and I served copies of the (specify documents):
    a.  Summons                     First Amended Complaint                              Third Party Complaint
        Complaint                   Second Amended Complaint                             Counter Claim
        Alias Summons               Third Amended Complaint                              Cross Claim
        other See attached Document List
2. Person served:
    a.  Defendant (name:) STAR MANUFACTURING D/B/A COMMERCIAL METAL FORMING
    b.  Other (specify name and title or relationship to the party/business named):
        Barbara Bracken - HR Manager
   c.   Address where the papers were served: 4944 Belmont Ave
                                                   Youngstown, OH 44505
3. Manner of Service in compliance with (the appropriate box must be checked):
    a.         Federal Rules of Civil Procedure
   b.     California Code of Civil Procedure
4. I served the person named in Item 2:
    a.         By Personal Service. By personally delivering copies. If the person is a minor, by leaving copies with a parent, guardian,
               conservator or similar fiduciary and to the minor if at least twelve (12) years of age.
         1.       Papers were served on (date): 9/25/2024 at (time): 3:44 PM
    b.         By Substituted Service. By leaving copies:
         1.       (home) at the dwelling house, usual place of abode, or usual place of business of the person served in the presence of a
                  competent member of the household, at least 18 years of age, who was informed of the general nature of the papers.
         2.       (business) or a person apparently in charge of the office, or place of business, at least 18 years of age, who was informed
                  of the general nature of the papers.
         3.       Papers were served on (date): at (time):
         4.       by mailing (by first-class mail, postage prepaid) copies to the person served in Item 2(b) at the place where the copies were
                  left in Item 2(c).
         5.       papers were mailed on
         6.       due diligence. I made at least three (3) attempts to personally serve the defendant.

    c.         Mail and acknowledgment of service. By mailing (by first-class mail or airmail, postage prepaid) copies to the person served,
               with two (2) copies of the form of Waiver of Service of Summons and Complaint and a return envelope, postage prepaid
               addressed to the sender. (Attach completed Waiver of Service of summons and Complaint).




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     d.      Service on domestic corporation, unincorporated association (including partnership), or public entity. (F.R.Civ.P.
             4(h)) (C.C.P. 416.10) By delivering, during usual business hours, a copy of the summons and complaint to an officer, a
             managing or general agent, or to any other agent authorized by appointment or by law to receive service of process and, if the
             agent is one authorized by statute and the statute so requires, by also mailing, by first-class mail, postage prepaid, a copy to
             the defendant.

     e.      Substituted service on domestic corporation, unincorporated association (including partnership), or public entity.
             (C.C.P. 415.20 only) By leaving during usual business hours, a copy of the summons and complaint in the office of the person
             served with the person who apparently was in charge and thereafter by mailing (by first-class mail, postage prepaid) copies of
             the persons at the place where the copies were left in full compliance with C.C.P. 415.20 Substitute service upon the
             California Secretary of State requires a court order. (Attach a copy of the order to this Proof of Service.)

     f.      Service on a foreign corporation. In any manner prescribed for individuals by FRCP 4(f)
     g.      Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
             requiring a return receipt) copies to the person served. (Attach signed return receipt or other evidence of actual receipt
             by the person served).
     h.      Other (specify code section and type of service):
5. Service upon the United States, and Its Agencies, Corporations or Officers.

     a.      by delivering a copy of the summons and complaint to the clerical employee designated by the U.S. Attorney authorized to
             accept service, pursuant to the procedures for the Office of the U.S. Attorney for acceptance of service, or by sending a copy of
             the summons and complaint by registered or certified mail addressed to the civil procecss clerk at the U.S. Attorneys Office.

             Name of person served:

             Title of person served:

             Date and time of service: (date): at (time):
     b.      By sending a copy of the summons and complaint by registered or certified mail to the Attorney General of the United States
             at Washington, D.C. (Attach signed return receipt or other evidence of actual receipt by the person served).

     c.      By sending a copy of the summons and complaint by registered or certified mail to the officer, agency or corporation(Attach
             signed return receipt or other evidence of actual receipt by the person served).
6. At the time of service I was at least 18 years of age and not a party to this action.

7. Person serving (name, address and telephone number):                                 a. Fee for service: $ 544.20
         DYLAN DWYER
                                                                                        b.     Not a registered California process server
         Nationwide Legal, LLC
         1609 James M Wood Blvd.                                                        c.     Exempt from registration under B&P 22350(b)
         Los Angeles, CA 90015                                                          d.     Registered California process server
         (213) 249-9999                                                                        Registration # :
                                                                                               County:


8.        I am a California sheriff, marshal, or constable and I certify that the foregoing is true and correct.

I declare under penalty of perjury that the foregoing is true and correct.




Date: September 25, 2024                        DYLAN DWYER
                                           Type or Print Server's Name                                             (Signature)




                                                 PROOF OF SERVICE - SUMMONS AND COMPLAINT
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                             1609 JamesID
                                        M #:8647
                                           Wood Blvd.
                              Los Angeles, CA 90015
                    Phone: (213) 249-9999 Fax: (213) 249-9990

                             Continued from Proof of Service

        CLIENT:    MORGAN, LEWIS & BOCKIUS LLP
  CLIENT FILE #:   BKK Landfill/Summons                        DATE: September 25, 2024

      SUBJECT:     STAR MANUFACTURING D/B/A COMMERCIAL METAL FORMING

SUMMONS IN A CIVIL ACTION ON SEVENTH AMENDED COMPLAINT; SEVENTH
AMENDED COMPLAINT; CASE MANAGEMENT ORDER; JUDGE FITZGERALD STANDING
ORDER




                                                                            Order#: LA562190/DocAtt2010
